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                                                                                                         UNITED STATES DISTRICT COURT
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                                                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                                  8   IN RE PLUM BABY FOOD LITIGATION,                    Case No. 4:21-CV-913-YGR
                                                                  9                                                       ORDER GRANTING IN PART AND DENYING IN
                                                                                                                          PART MOTION TO DISMISS AND/OR STAY
                                                                 10
                                                                                                                          Re: Dkt. No. 103
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                                                                             Plaintiffs bring this action against defendants Plum, PBC and Plum, Inc. (collectively,
                               Northern District of California
United States District Court




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                                                                      “Plum”) under various state statutes and common law, alleging that Plum failed to disclose that its
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                                                                      baby food products contain (or have a risk of containing) heavy metals (namely, arsenic, cadmium,
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                                                                      lead, and mercury), and perchlorate. (Dkt. No. 98.)1 Currently pending is Plum’s motion to dismiss
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                                                                      the first amended consolidated class action complaint or, in the alternative, to stay. (Dkt. No. 103.)
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                                                                             Having carefully considered the pleadings, the briefing on the motions, and for the reasons
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                                                                      stated on the record at the January 11, 2022 hearing, the Court GRANTS IN PART AND DENIES IN
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                                                                      PART the motion.
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                                                                             First, the motion to dismiss for plaintiffs’ lack of Article III standing to pursue their claims is
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                                                                      DENIED. The Court finds that plaintiffs have adequately alleged an injury in fact by alleging that
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                                                                      they “would have not paid [the purchase price or the price premium] had they known that the Baby
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                                                                      Foods included levels of Heavy Metals, perchlorate, and/or undesirable toxins or contaminants.”
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                                                                      (Compl. ¶ 57.) The Ninth Circuit’s decision in McGee v. S-L Snacks Nat’l, 982 F.3d 700 (9th Cir
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                                                                      2020) does not preclude such a finding. Further, Plum’s reliance on Herrington v. Johnson &
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                                                                      Johnson Consumer Companies, Inc., No. 09-CV-1597 (CW), 2010 WL 3448531, at *8 (N.D. Cal.
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                                                                 28           Defendant Plum, PBC notes that Plum, Inc. was converted into a public benefit corporation
                                                                      and was renamed Plum, PBC and thus Plum, Inc. no longer exists. (Dkt. No. 103 at 2 n.1.)
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                                                                  1   Sept. 1, 2010) does not persuade. The motion to dismiss based on the argument that plaintiffs’ lack
                                                                  2   of Article III standing to seek injunctive relief is also DENIED (except as to plaintiff Jessica David),
                                                                  3   as all of the plaintiffs except for David allege that they would “be willing to purchase Plum Organic
                                                                  4   products in the future if [plaintiffs] could be certain that they do not contain (o[r] have a material risk
                                                                  5   of containing) Heavy Metals or perchlorate.” (Compl. ¶¶ 30, 33, 36, 39, 42, 45, 51, 53, 56.) See
                                                                  6   Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018).
                                                                  7          Second, the motion to dismiss on the basis of conflict preemption is DENIED. Plum fails to
                                                                  8   articulate any specific federal law or regulation with which plaintiffs’ state law claims purportedly
                                                                  9   conflict. Third, the motion to dismiss on primary jurisdiction grounds is DENIED. The Court need
                                                                 10   not rely on the FDA’s expertise or its potential guidance on action levels to determine whether
                                                                 11   Plum’s alleged omissions are actionable given the allegations of the operative complaint. See Clark
                                                                 12   v. Time Warner Cable, 523 F.3d 1110, 1114 (9th Cir. 2008) (“[T]he doctrine is not designed to
                                                                 13   secure expert advice from agencies every time a court is presented with an issue conceivably within
                               Northern District of California
United States District Court




                                                                 14   the agency’s ambit.”) (internal quotation marks omitted). Moreover, uncertainty over how and when

                                                                 15   the FDA will act counsels against an indefinite stay. See Astiana v. Hain Celestial Grp., Inc., 783

                                                                 16   F.3d 753, 760 (9th Cir. 2015) (“‘[E]fficiency’ is the ‘deciding factor’ in whether to invoke primary

                                                                 17   jurisdiction.”) (quoting Rhoades v. Avon Prods., Inc., 504 F..3d 1151, 1165 (9th Cir. 2007)).

                                                                 18          Fourth, the motion to dismiss for lack of a plausible deception theory is DENIED. Plum

                                                                 19   would have the Court determine that “consumers know and understand that trace amounts of heavy

                                                                 20   metals are ubiquitous” and that “the mere presence of heavy material is not material to reasonable

                                                                 21   consumers.” (Mtn. at 23.) These are factual issues not appropriate for resolution at this stage in the

                                                                 22   proceedings and are plausibly alleged.

                                                                 23          Finally, the motion to dismiss for failure to plausibly allege a breach of implied warranty of

                                                                 24   merchantability claim is GRANTED WITHOUT PREJUDICE. Plaintiffs have not adequately alleged

                                                                 25   that the product was not fit for consumption, that is, the ordinary purpose for which the goods at

                                                                 26   issue are used.

                                                                 27          At this juncture, plaintiffs indicate that they are not in a position to amend the complaint any

                                                                 28   further. Accordingly, Plum shall file its answer to the operative complaint no later than January 31,



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                                                                  1   2022. The Court hereby SETS a case management conference for March 14, 2022. Five (5)
                                                                  2   business days prior to the conference, the parties shall file a joint case management statement.
                                                                  3          This Order terminates Docket Number 103.
                                                                  4          IT IS SO ORDERED.
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                                                                      Dated: January 12, 2022
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                                                                  7                                                              YVONNE GONZALEZ ROGERS
                                                                                                                             UNITED STATES DISTRICT COURT JUDGE
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                               Northern District of California
United States District Court




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